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 1                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 2                                   SAN FRANCISCO DIVISION

 3   In re: CATHODE RAY TUBE (CRT)                             Master File No. 07-5944 SC
     ANTITRUST LITIGATION
 4
                                                               MDL No. 1917
 5   This Document Relates to:
 6   Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
     01173;
 7
     Electrograph Systems, Inc. et al. v. Technicolor SA,
 8   et al., No. 13-cv-05724;                                  [PROPOSED] ORDER GRANTING
                                                               PLAINTIFFS’ ADMINISTRATIVE
 9   Siegel v. Technicolor SA, et al., No. 13-cv-05261;        MOTION TO SEAL PORTIONS OF
                                                               THEIR OPPOSITION TO
10   Best Buy Co., Inc. v. Technicolor SA, et al., No. 13-     THOMSON CONSUMER’S
     cv-05264;                                                 MOTION FOR SUMMARY
11                                                             JUDGMENT AND PARTIAL
     Interbond Corporation of America v. Technicolor           SUMMARY JUDGMENT
12   SA, et al., No. 13-cv-05727;                              PURSUANT TO CIVIL LOCAL
                                                               RULES 7-11 AND 79-5(d)
13   Office Depot, Inc. v. Technicolor SA, et al., No. 13-
     cv-05726;
14
     Costco Wholesale Corporation v. Technicolor SA, et        The Honorable Samuel Conti
15   al., No. 13-cv-05723;
16   P.C. Richard & Son Long Island Corporation, et al.
     v. Technicolor SA, et al., No. 13-cv-05725
17
     Schultze Agency Services, LLC, o/b/o Tweeter Opco,
18   LLC, et al. v. Technicolor SA, Ltd., et al., No. 13-cv-
     05668;
19
     Sears, Roebuck and Co. and Kmart Corp. v.
20   Technicolor SA, No. 3:13-cv-05262;
21   Target Corp. v. Technicolor SA, et al., No. 13-cv-
     05686;
22
     Tech Data Corp., et al. v. Hitachi, Ltd., et al., No.
23   13-cv-00157;
24   Viewsonic Corp. v. Chunghwa Picture Tubes, Ltd.,
     No. 14-cv-02510.
25

26           The Court has considered Plaintiffs’ Administrative Motion to Seal the following portions
27
     of their Opposition to Thomson Consumer’s Motion for Summary Judgment and Partial Summary
28
         PROPOSED ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                        Master File No. 3:07-cv-5944 SC
     3473933v1/012325
         Case 4:07-cv-05944-JST Document 3236-2 Filed 12/22/14 Page 2 of 2



 1   Judgment Pursuant to Local Rules 7-11 and 79-5(d):
 2
                 •      The highlighted portions of Plaintiffs’ Opposition to Thomson Consumer’s Motion
 3                      for Summary Judgment and Partial Summary Judgment.

 4               •      Exhibits 1-44 to Plaintiffs’ Opposition.

 5           Having read and considered the papers filed and arguments made by counsel, if any, IT IS
 6   HEREBY ORDERED that Plaintiffs’ Administrative Motion to Seal Portions of Their Opposition
 7
     to Thomson Consumer’s Motion for Summary Judgment and Partial Summary Judgment Pursuant
 8
     to Civil Local Rules 7-11 and 79-5(d) is hereby GRANTED.
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10   Dated: __________, 2014
                                                             HON. SAMUEL CONTI
11                                                      UNITED STATES DISTRICT JUDGE
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         PROPOSED ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                          Master File No. 3:07-cv-5944 SC
     3473933v1/012325
